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IN THE UNITED STATES DISTRICT COURT Vv
FOR THE NORTHERN DISTRICT OF TEXAS v1
DALLAS DIVISION

UNITED STATES OF AMERICA, ex rel.
PATRICIA LESKO,
Plaintiff-Relator,
Civil Action No. 3:24-CV-865-K
Vv.
UNIVERSITY OF DALLAS, et al, Ss i AL - D
Defendants.

NOTICE OF INTERVENTION FOR PURPOSE OF DISMISSAL

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b) and (c)(2)(A), the
government notifies the Court of its election to intervene in this case, for the purpose of
dismissing the complaint. This is a gui tam action in which the relator has named 20
different (and unrelated) defendants under theories that they were ineligible for Paycheck
Protection Program loans during the COVID-19 pandemic. The government has
reviewed the relator’s claims and relevant other information about the loans at issue and
is satisfied that the relator’s allegations are not meritorious, and that to allow the case to
be litigated in a declined posture by the relator would likely impose significant burdens
on the government in terms of monitoring the case and in connection with discovery, and,

ultimately, that the complaint ought to be dismissed. The government will be filing

Notice of Intervention for Purpose of Dismissal — Page 1

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appropriate dismissal papers shortly.'! See United States ex rel. Polansky v. Executive
Health Res., Inc., 599 U.S. 419, 436-39 (2023) (explaining the government’s ability to
dismiss gui tam actions under the standards of Rule 41(a)).

Respectfully submitted,

LEIGHA SIMONTON
UNITED STATES ATTORNEY

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aoe W. Stoltz

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Attorneys for the United States

' The government is submitting a proposed order to the Court to unseal this action going forward, and
respectfully requests that all filings in this case that pre-date the filing of this notice—other than the
relator’s complaint—remain under seal. The False Claims Act contemplates that the relator’s complaint
will be unsealed upon the conclusion of the government’s investigation and arrival at an intervention
decision, see 31 U.S.C. § 3730(b); see also United States ex rel. Yannacopolous v. Gen. Dynamics, 457 F.
Supp. 2d 854, 858 (N.D. Ill. 2006) (explaining that the False Claims Act “clearly contemplates that the
complaint be unsealed once the government has decided whether to intervene”); United States ex rel.
Erickson v. Univ. of Wash. Physicians, 339 F. Supp. 2d 1124, 1126 (W.D. Wash. 2004) (“The FCA
clearly contemplates the lifting of the seal on the relator’s complaint.”), but the government’s filings in
this case prior to intervention were made to provide the Court with information about the government’s
investigation, for the sole purpose of evaluating whether the seal and time for making an election to
intervene should be extended, and therefore should remain under seal in a manner consistent with the
False Claims Act and the standard practice in other qui tam cases. See 31 U.S.C. § 3730(b)(3) (allowing
“in camera” submissions in support of requests to extend the intervention deadline); see also, e.g., Order,
United States ex rel. Adams v. Medoc Health Servs., LLC, No. 3:17-CV-2977-M (N.D. Tex. July 16,
2019) (unsealing complaint and intervention notice, but not other filings, upon the government’s
intervention in a False Claims Act case).

Notice of Intervention for Purpose of Dismissal — Page 2

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Certificate of Service

On December ~ , 2024, I served a copy of this document on relator by mailing
it relator’s counsel of record addressed as follows:

Elizabeth K. Stepp
Oberheiden P.C.

440 Louisiana St., Suite 200
Houston, Texas 77002

bMISlh

Brian W. Stoltz
Assistant United States Attorney

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

UNITED STATES OF AMERICA, ex rel. §
PATRICIA LESKO, §
§
Plaintiff-Relator, §

§ Civil No. 3:24-CV-865-K
Vv. §
§
UNIVERSITY OF DALLAS, et al., §
§
Defendants. §

ORDER

Before the Court is Plaintiff United States of America’s Notice of Intervention for
Purpose of Dismissal, filed on December 2, 2024. Upon consideration of same, the
Court ORDERS as follows:

1. The following documents shall be unsealed and publicly docketed:

e the False Claims Act Complaint Filed Under Seal Under 31 U.S.C.
§ 3730(b)(2), filed by plaintiff-relator Patricia Lesko

e the Notice of Intervention for Purpose of Dismissal, filed by
plaintiff United States of America

e this Order

z. All other papers or orders on file in this matter prior to the date of this
Order shall remain under seal. However, this action shall be unsealed going forward
such that any documents filed in this action after the date of this Order shall be filed on

the public docket unless filed under seal pursuant to some other order of this Court, or

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filed in connection with an appropriate motion to seal under the local civil rules.

SO ORDERED.

Signed , 2024.

ED KINKEADE
UNITED STATES DISTRICT JUDGE
